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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
JOHN YELLE,
                                    Plaintiff,                            18 CIVIL 10927 (PMH)

                 -against-                                                   JUDGMENT
MOUNT ST. MARY COLLEGE,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 5, 2020, the Court on October 29, 2020, heard oral

argument via videoconference on Defendant’s motion for summary judgment (Doc. 35); on

November 5, 2020, the Court issued a bench ruling; for the reasons indicated on the record, the

motion for summary judgment is granted; accordingly, the case is closed.


Dated: New York, New York
       November 5, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                           Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
